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                                        Exhibit C

                        Expense Summary for the Application Period




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               EXPENSE SUMMARY FOR THE APPLICATION PERIOD
          (NOVEMBER 11, 2022 THROUGH AND INCLUDING OCTOBER 8, 2024)

                                           Disbursement Summary
              Expense Category                   Service Provider, 1 if Applicable                 Amount
    Travel and expenses                                                                             $94,538.34
    Repro - B&W Copies                                                                              $18,385.00
    Repro - Color Copies                                                                            $21,325.00
    Outside Reproduction                           Perfect Imaging Record Press, Inc.               $11,700.72
    Delivery/Courier                                                                                $16,148.62
    Conference Room Dining                                                                          $47,404.34
    Meals - Overtime                                                                                $46,966.34
    Local Transportation                           Magna Legal Services, Veritext                  $170,185.76
    Filing Fees                                                                                    $178,438.57
    Telephonic court appearance                                                                      $1,120.00
                                                   Esquire Deposition Solutions,
                                                   LLC, South Square Barristers,
    Outside Professional Services                  Page Vault, TSG Reporting, Inc.,
                                                   Millnet Document Services and
                                                   Lionbridge                                      $165,944.84
    Case Storage                                                                                     $2,895.10
    Trial Transcripts                                                                                $6,876.89
    CT Corp/CSC                                                                                      $3,345.08
    Pro Hac Fees                                                                                       $300.00
    Deposition Transcripts                                                                          $13,781.03
                                                                                  TOTAL            $799,355.68




1
      S&C may use one or more service providers. The service providers identified herein are the primary service
      providers for the categories described.



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